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22-0972-cv
   United States Court of Appeals
                              for the

                    Second Circuit

           CHASE WILLIAMS, individually and on behalf
                 of all others similarly situated,
                                                          Plaintiff-Appellant,
     JD ANDERSON, COREY HARDIN, ERIC LEE, individually
and on behalf of all others similarly situated, BRETT MESSIEH, DAVID
  MUHAMMAD, RANJITH THIAGARAJAN, TOKEN FUND I LLC,
                                                  Lead-Plaintiffs-Appellants,
                               – v. –
                 BINANCE, CHANGPENG ZHAO,
                                                      Defendants-Appellees,
                      YI HE, ROGER WANG,
                                                                 Defendants.
                ––––––––––––––––––––––––––––––
     ON APPEAL FROM THE UNITED STATES DISTRICT COURT
          FOR THE SOUTHERN DISTRICT OF NEW YORK


         BRIEF FOR PLAINTIFFS-APPELLANTS

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            CORPORATE DISCLOSURE STATEMENT
               PURSUANT TO RULE 26.1 OF THE
          FEDERAL RULES OF APPELLATE PROCEDURE

          Pursuant to Rule 26.1 of the Federal Rules of Appellate

Procedure, Token Fund I LLC, Plaintiff-Appellant in this action, states that

it does not have a corporate parent, and there is no publicly held corporation

that owns 10 percent or more of its stock.
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                          PRELIMINARY STATEMENT

      As the Securities and Exchange Commission has cautioned, “[c]rypto markets

have exploded in recent years, with retail investors bearing the brunt of abuses …

[by] fraudulent and unregistered crypto asset offerings and platforms.”1 Binance

operates the largest online exchange in the world for trading crypto-assets. As part

of a wave of schemes devised to trick consumers into purchasing speculative crypto

“tokens”—that is, digital assets commonly used to invest in startup projects—

Binance unlawfully promoted, offered, and sold billions of dollars’ worth of tokens

that were not registered as securities, in violation of Section 12(a)(1) of the Securities

Act of 1933, 15 U.S.C. § 77l(a)(1) (“Securities Act”), and without registering itself

as a securities exchange and broker/dealer, in violation of Section 29(b) of the

Securities Exchange Act of 1934, 15 U.S.C. § 78cc(b) (“Exchange Act”). Plaintiffs

bring claims on behalf of themselves and all others similarly situated under Sections

12(a)(1) and 15 of the Securities Act, Sections 20 and 29(b) of the Exchange Act,

and state “blue sky” securities laws, seeking rescission of their purchases of

unregistered securities on Binance (or in the alternative, damages), together with

interest and reasonable attorneys’ fees and costs.




1
   U.S. Securities and Exchange Commission, SEC Nearly Doubles Size of
Enforcement’s Crypto Assets and Cyber Unit (May 3, 2022),
https://www.sec.gov/news/press-release/2022-78.
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      The district court’s dismissal of all of Plaintiffs’ claims as impermissibly

extraterritorial and untimely was inconsistent with this Court’s precedents and would

lead to perverse results.2 As this Court has explained in prior cases, when an investor

places a purchase order for a security in the United States, and additional

transactional steps that bind the investor to the transaction—such as entering an

agreement to purchase the security, sending payment for the transaction, or matching

counterparties to the trade—occur in the United States, that purchase is a domestic

transaction subject to U.S. securities laws. Here, Plaintiffs alleged just that: in

addition to placing purchase orders for securities in the United States, they agreed to

purchase securities in the United States pursuant to contracts with Binance; they sent

payment for the securities from their U.S. states of residence via Binance’s crypto-

asset exchange hosted on U.S. computer infrastructure; and their purchases became

final and binding within the United States when the trades were validated on U.S.-

based computers servicing the Ethereum blockchain.




2
  Plaintiffs JD Anderson, Corey Hardin, David Muhammad, Ranjith Thiagarajan,
Chase Williams, and Token Fund I LLC each brought claims arising from purchases
within the relevant federal or state statutes of limitations. Plaintiff Eric Lee’s and
Brett Messieh’s claims relied upon equitable doctrines of injury evading discovery
and the fraud-based discovery rule for timeliness. Plaintiffs do not appeal the district
court’s ruling that these doctrines did not apply here and thus do not appeal the
dismissal of Plaintiffs Lee’s and Messieh’s claims as untimely.

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      The district court’s ruling that Plaintiffs’ purchases were extraterritorial

ignored most of those transactional steps, and its cramped consideration of Plaintiffs’

allegations accounted only for Plaintiffs’ submission of purchase orders for the

securities in the United States. Plaintiffs’ transactional steps that took place in the

U.S. bound them to the transactions. Those allegations must be taken as true on a

motion to dismiss, and under this Court’s precedents, they are sufficient to establish

domestic transactions. The district court’s decision effectively immunizes Binance

from liability for operating an unregistered exchange even though it intentionally

and extensively targeted U.S. investors—a gambit this Court should not reward.

      The district court’s ruling that Plaintiffs’ claims are untimely even though they

arise from purchases made within one year of filing is likewise irreconcilable with

this Court’s precedents. With respect to Plaintiffs’ claims under the Exchange Act,

the district court recognized that such claims are subject to a one-year statute of

limitations, which begins to run upon the “discovery that [the] sale or purchase

involves [a] violation.” 15 U.S.C. § 78cc(b). But after finding—without adequate

support in the operative Complaint—that Plaintiffs knew the exchange was not

registered earlier than a year prior to filing, the district court held that knowledge

started the clock on the limitations period, before the purchases underlying

Plaintiffs’ claims had even taken place. That determination rested on two errors:

First, the court’s factual finding that Plaintiffs knew Binance violated Section 29(b)



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more than one year prior to filing was inappropriate on a motion to dismiss and

inconsistent with Plaintiffs’ well-pleaded allegations.3          Second, and more

egregiously, the court essentially engrafted a knowledge defense found nowhere in

the Exchange Act or relevant precedent, and applied it to shorten the one-year period

Plaintiffs had to bring their claims, rather than lengthen it—precisely the opposite of

what Congress intends when it includes a discovery rule in a statute of limitations.

That result is particularly unfair because under the terms of the statute, Plaintiffs’

claims could not have accrued, and the limitations period could not have begun to

run, until the purchases giving rise to Plaintiffs’ claims had actually occurred.

      The district court’s holding that Plaintiffs’ Securities Act claims were

untimely also requires reversal. A Section 12(a)(1) claim must be brought “within

one year after the violation upon which it is based.” 15 U.S.C. § 77m. Although the

relevant purchases occurred within one year prior to filing this action, the district

court held that the limitations period began to run prior to purchase because “the

violation alleged for the Section 12(a)(1) claim is solicitation, which occurred earlier

than one year of filing.” SPA-5. But this Court has expressly held that the statute

of limitations for Section 12(a)(1) claims runs from the date of a plaintiff’s purchase,



3
  Plaintiffs alleged that prior to April 3, 2019, investors would not reasonably have
understood that the Tokens were securities, and that Plaintiffs did not have
knowledge that they had claims against Binance for the unlawful offer and sale of
the Tokens. E.g., A-197–201 (SAC ¶¶ 103–19).

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not the defendant’s last solicitation. Plaintiffs’ claims arising from purchases made

within one year of filing are therefore timely as a matter of law. Even if the statute

of limitations had started to run upon Binance’s last solicitation, Plaintiffs alleged

that Binance continuously solicited the securities throughout the Class Period and

within one year of filing, which is an independent reason why Plaintiffs’ claims

arising from purchases made within a year prior to filing this action are timely.

      In addition, the district court’s dismissal of all of Plaintiffs’ claims as untimely

simply ignored applicable state-law limitations periods, pursuant to which Plaintiffs

indisputably have timely claims under state blue sky laws. For example, Plaintiffs

Anderson, Muhammad, and Williams bring claims under the Texas blue sky statute

arising from their purchases of the EOS, TRX, ELF, FUN, ICX, OMG, and QSP

tokens within three years before the filing of this action. Because the Texas statute

imposes a three-year repose period after the sale of an unregistered security, with no

statute of limitations, no notice provision, and no knowledge defense, all of

Plaintiffs’ claims under Texas law are necessarily timely. Likewise, Plaintiffs Token

Fund I LLC and Hardin bring claims under the Puerto Rico and Nevada blue sky

statutes, respectively, arising from purchases that clearly fall within the limitations

periods applicable to those statutes.

      Accordingly, for the reasons explained herein, Plaintiffs have asserted timely

claims under the Securities Act and the Exchange Act, and under the blue sky laws



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of Nevada, Puerto Rico, and Texas, arising from their domestic purchases of the

EOS, TRX, ELF, FUN, ICX, OMG, and QSP tokens. The judgment of the district

court should therefore be reversed.

                        STATEMENT OF JURISDICTION

      The district court had jurisdiction over this action pursuant to 28 U.S.C.

§ 1332(d)(2) because the matter in controversy exceeds the value of $5,000,000,

exclusive of interests and costs, and is a class action in which any member of a class

of plaintiffs is a citizen of a State different from any defendant, and in which any

member of a class of plaintiffs is a citizen of a State and any defendant is a citizen

or subject of a foreign state.

      The district court also had jurisdiction over this action pursuant to 28 U.S.C.

§ 1331 because Plaintiffs’ Second Amended Complaint, A-150 (“SAC”), asserts

federal claims under the Securities Act and the Exchange Act. The district court

further had jurisdiction over the Securities Act claims pursuant to Section 22 of the

Securities Act, 15 U.S.C. § 77v, and over the Exchange Act claims pursuant to

Section 27 of the Exchange Act, 15 U.S.C. § 78aa(a).

      The district court had jurisdiction over violations of state securities laws

pursuant to its supplemental jurisdiction under 28 U.S.C. § 1367(a).

      Jurisdiction is proper in this Court pursuant to 28 U.S.C. § 1291 because this

is an appeal from a final decision of the district court.



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                            STATEMENT OF ISSUES

      1.       Whether federal and state securities laws apply to purchases of

unregistered securities from an unregistered exchange or an unregistered

broker/dealer when Plaintiffs’ purchases were placed and became irrevocable within

the United States, regardless of where the defendant is located.

      2.       Whether Plaintiffs’ claims arising under Section 12(a)(1) of the

Securities Act and Section 29(b) of the Exchange Act, which were all asserted within

three years of the securities being bona fide offered to the public and within one year

of Plaintiffs’ purchasing them, are timely.

      3.       Whether Plaintiffs’ claims under state securities laws are timely,

including those that set out longer statutes of limitations than those provided under

federal law.

                          STATEMENT OF THE CASE

      Plaintiffs-Appellants JD Anderson, Corey Hardin, Eric Lee, Brett Messieh,

David Muhammad, Ranjith Thiagarajan, Chase Williams, and Token Fund I LLC

(collectively, “Plaintiffs”) respectfully request that this Court reverse the judgment

of the United States District Court for the Southern District of New York (Carter, J.)

granting Defendants-Appellees Binance and Changpeng Zhao’s (collectively,

“Defendants” or “Binance”) motion to dismiss Plaintiffs’ Second Amended

Complaint.



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I.    Crypto-Assets

      A crypto-asset is a digital asset that relies on cryptographic principles—the

practice of encrypting and decrypting a message or piece of data—to secure

transactions. A-162–63 (SAC ¶ 2); Heather Hughes, Blockchain and the Future of

Secured Transactions Law, 3 Stan. J. Blockchain L. & Pol’y 21, 31 n.37 (2020).

Crypto-assets can be designed to serve as a medium of exchange, a store of value,

or both. A-174 (SAC ¶ 40). All crypto-assets employ a digital ledger, called a

“blockchain,” that records the ownership and transfers of a specific crypto-asset. A-

162–63 (SAC ¶ 2).

      A blockchain operates by storing electronic information about any given

crypto-asset within a computer network. It sequentially groups information about

transactions involving the asset into blocks of a certain size, which are linked to

other blocks of data about that same asset to form a “chain.” Hughes, supra, at 31.

As new data is added during subsequent transactions, it is stored in a new block at

the end of the chain that, when full, is locked, timestamped, and linked to the older

blocks. See id. That structure creates a tamper-proof timeline of data that can be

used to track and verify transactions because it is implemented in a “decentralized”

manner—that is, all users may add data to the blockchain by engaging in

transactions, but none may modify prior blocks or their timestamps. See id.; see also

A-175 (SAC ¶¶ 42–43); A-176 (SAC ¶ 50). One of the most popular blockchain



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networks is Ethereum, a software platform built upon Ethereum’s version of

blockchain technology. A-176 (SAC ¶ 50).

      Certain crypto-assets, known as “security tokens,” are issued for the purpose

of raising capital for a project that will be funded by the proceeds of those token

sales. Such tokens thus derive their value from the expected value of the project or

issuer itself. A-163–64 (SAC ¶ 4). One popular form of security token is known as

an “ERC-20 token,” and transactions in these tokens are executed using the

Ethereum blockchain. A-178 (SAC ¶¶ 56–59). Each of the crypto-assets underlying

Plaintiffs’ claims in this action (together, the “Tokens”) are ERC-20 tokens.

Applying the analysis set forth by the SEC on April 3, 2019 for determining whether

a digital asset is an investment contract and whether offers and sales of a digital asset

are securities transactions under Supreme Court precedent, each of the Tokens is a

security subject to federal and state securities laws. A-201–03 (SAC ¶¶ 120–24).

II.   ICOs And Crypto Exchanges

      As crypto-assets boomed in 2017 and 2018, A-178–79 (SAC ¶ 61), numerous

ERC-20 tokens (including each of the Tokens at issue here) were sold to the public

in so-called “initial coin offerings” (“ICOs”), A-179 (SAC ¶¶ 62–66). ICOs are the

crypto-asset equivalent of an initial public offering—they are a mechanism by which

issuers of new crypto-assets can sell those crypto-assets to public investors. See

Wulf A. Kaal, Initial Coin Offerings: The Top 25 Jurisdictions and Their



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Comparative Regulatory Responses (as of May 2018), 1 Stan. J. Blockchain L. &

Pol’y 41, 41–42 (2018). Between 2017 and 2018, nearly $20 billion was raised

through approximately 800 ICOs, the vast majority of which involved ERC-20

tokens. A-179 (SAC ¶¶ 64–65).

      During the relevant period, issuers of ERC-20 tokens often released a

“whitepaper” that provided a barebones description of a particular project to be

funded by the token sales and the terms of the ICO. A-179 (SAC ¶ 66). These

whitepapers generally lacked the warning statements and standardized format found

in SEC registration statements, both of which aid potential investors in assessing the

risks associated with a security. A-179–80 (SAC ¶ 67).

      After an ICO, newly-issued tokens were frequently listed on crypto-asset

exchanges, such as Binance, for secondary-market trading. A-175 (SAC ¶¶ 45–46);

A-179–80 (SAC ¶¶ 63, 69–70). Investors could buy the tokens using other crypto-

assets or traditional currencies and speculate on anticipated price increases. A-175–

76 (SAC ¶¶ 45–48); A-180 (SAC ¶ 69). These exchanges became integral to the

massive growth in the market for crypto-assets and ICOs. As Defendant Zhao put it

when referring to Binance, “we are the heart” of the crypto-asset economy. A-186

(SAC ¶ 89).




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III.   The Rise Of Binance

       Binance is an online crypto-asset exchange run by Defendant Zhao, Yi He,

and Roger Wang. It was launched in July 2017, and within one year had reportedly

become the largest crypto-asset exchange in the world. A-170–72 (SAC ¶¶ 23–32).

Issuers of new tokens often sought to list them on exchanges like Binance after

launching an ICO to gain access to an array of eager yet unsophisticated retail

investors. A-185 (SAC ¶¶ 85–86).

       Binance reaped massive profits by soliciting and selling numerous crypto-

assets, including the Tokens, on its unregistered exchange. A-167 (SAC ¶ 12)

A-168–70 (SAC ¶¶ 15–22); A-178 (SAC ¶ 58); A-181 (SAC ¶ 74); A-185–86

(SAC ¶¶ 85–91); A-263 (SAC ¶ 365); A-265 (SAC ¶ 375); A-268 (SAC ¶ 386); A-

274 (SAC ¶ 425).      Binance promoted itself through email and social media

solicitations encouraging investors to purchase crypto-assets on Binance, through

promotions such as reward programs for investors who purchased crypto-assets on

the exchange, through continuous solicitations on its website displaying detailed

price and trading data for crypto-assets on Binance, and through publication on its

website of investor reports rating the Tokens and encouraging their purchase. A-

187–88 (SAC ¶¶ 92–93); A-190–96 (SAC ¶¶ 97–100).

       Binance directly solicited U.S. investors by, for example, targeting its

marketing to U.S. users and providing customer support to U.S. users—indeed, it



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publicly recognized that U.S. residents were accessing its platform. A-181–84 (SAC

¶¶ 76–81). Even when Binance cut off access for U.S. users to its platform in

September 2019, it advised U.S.-based purchasers how to circumvent its own

restrictions—after which several named Plaintiffs continued trading on Binance in

the United States. A-183–84 (SAC ¶¶ 81–82).

      Binance hosts its exchange on computer servers in the U.S. and stores its data

in the U.S. A-170–71 (SAC ¶ 24). A number of its employees, including its Vice

President of Global Operations, reside in the United States. A-171 (SAC ¶ 25).

Binance hires in the United States, A-173–74 (SAC ¶ 37), has participated in

conferences in the U.S., id., and has pursued regulatory approval for its own

stablecoin4 in the United States, A-174 (SAC ¶ 39).

IV.   Procedural History

      On April 3, 2020, the original Complaint in this action was filed in the U.S.

District Court for the Southern District of New York. No. 1:20-cv-02803-ALC, ECF

No. 1. On June 8, 2020, Plaintiffs moved for appointment as lead plaintiffs pursuant

to the Private Securities Litigation Reform Act of 1995 and for selection of their

counsel as co-lead counsel. No. 1:20-cv-02803-ALC, ECF Nos. 23–24. The district




4
  A stablecoin is a type of crypto-asset with a fixed value—typically pegged to a
specific real currency, often the U.S. dollar—created to facilitate additional trading
by investors on a crypto exchange.

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court granted Plaintiffs’ motion on August 26, 2020. No. 1:20-cv-02803-ALC, ECF

No. 40.

      On December 15, 2020, Plaintiffs filed the SAC on behalf of themselves and

all others similarly situated. A-150. Plaintiffs allege that Binance was operating as

an “online exchange without registering as an exchange or broker/dealer, and

without a registration statement in effect for the securities it was selling, in violation

of federal and state securities laws.” A-162 (SAC ¶ 1). On February 16, 2021,

Defendant filed a motion to dismiss or, in the alternative, compel arbitration. No.

1:20-cv-02803-ALC, ECF No. 58 (“Motion to Dismiss”). On March 31, 2022, the

district court issued an Opinion and Order granting the Motion to Dismiss on two

grounds. SPA-1 (the “Order”); Anderson v. Binance, 2022 WL 976824 (S.D.N.Y.

Mar. 31, 2022). First, the district court found that Plaintiffs’ claims under Section

12(a)(1) of the Securities Act and Section 29(b) of the Exchange Act were untimely.

SPA-4–7. Second, the district court found that Plaintiffs’ claims, including those

brought under state “blue sky” securities laws, were impermissibly extraterritorial.

SPA-7–10. Accordingly, on March 31, 2022 the district court entered a judgment

granting the Motion to Dismiss and dismissing the SAC in its entirety. SPA-11.

      Plaintiffs timely filed a notice of appeal on April 29, 2022. A-661.




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                          SUMMARY OF ARGUMENT

      Plaintiffs more than adequately alleged that their purchases of Tokens from

Binance were domestic transactions subject to federal and state securities laws. This

Court, applying Morrison v. National Australia Bank Ltd., 561 U.S. 254 (2010), has

held that where an investor incurs irrevocable liability in the United States to

purchase a security, the transaction is domestic. To be sure, mere placement of a

purchase order in the United States for foreign shares that are processed, matched,

and settled on a foreign exchange is insufficient to create a domestic transaction,

because the investor does not incur irrevocable liability for the purchase in the

United States. But under this Court’s precedents, where a plaintiff alleges additional

transactional steps that occurred in the United States and bound the plaintiffs to the

transaction, she sufficiently pleads a domestic transaction. Such additional steps

might include, for example, the matching of counterparties to a trade in the United

States (even if the trade is subsequently cleared and settled abroad), the sending of

offering materials and purchase confirmations to plaintiffs in the United States, and

the plaintiff’s sending payment for the security while in the United States.

      That is exactly what Plaintiffs alleged here: that in addition to placing

purchase orders in the United States, additional transactional steps occurred in the

United States that irrevocably bound Plaintiffs to purchase the Tokens. Specifically,

Plaintiffs alleged that while located in the United States they agreed to purchase the



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Tokens pursuant to contracts with Binance, and submitted payment from their states

of residence via Binance’s crypto-asset exchange, which was hosted on U.S.

computer infrastructure. Those purchases became final and binding when the trades

were validated by computers servicing the Ethereum blockchain that were physically

located in the United States. These allegations are more than sufficient to plausibly

allege a domestic transaction under this Court’s precedents, and the district court’s

contrary ruling should be reversed.

      The district court’s ruling that Plaintiffs’ claims under the Exchange Act and

Securities Act are untimely, even as to Token purchases within one year before

filing, is irreconcilable with statutory language and this Court’s precedents. Claims

brought under Section 29(b) of the Exchange Act are subject to a one-year statute of

limitations. As the district court recognized, Section 29(b) makes that period

expressly subject to a discovery rule, pursuant to which the limitations period only

begins to run upon the “discovery that [the] sale or purchase involves [a] violation.”

15 U.S.C. § 78cc(b). The district court nonetheless dismissed all of Plaintiffs’

Section 29(b) claims as untimely, including those arising from purchases within one

year before this action was filed, on the ground that Plaintiffs knew the Binance

exchange was not registered earlier than one year prior to filing.

      This holding cannot be squared with the plain language of Section 29(b)

providing that commencement of the statute of limitations is triggered by the



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discovery of a sale or purchase involving a violation. Id. It is impossible for a sale

or purchase to involve a violation when the sale or purchase has not yet occurred, as

this Court and others have recognized when interpreting analogous limitations

periods in the securities laws.      The district court’s holding—which relies on

illegitimate fact-finding concerning Plaintiffs’ pre-purchase knowledge—engrafts a

knowledge defense where none exists in the statute or caselaw, and yields the

illogical result that Section 29(b)’s discovery rule would shorten the one-year statute

of limitations, rather than lengthen it.

      In addition, the district court’s ruling that Plaintiffs’ Section 29(b) claims were

untimely should be reversed because the court’s factual finding regarding Plaintiffs’

knowledge is contradicted by Plaintiffs’ allegations that prior to April 3, 2019,

investors would not reasonably have understood that the Tokens were securities.

      As for Plaintiffs’ claims under Section 12(a)(1) of the Securities Act, the

district court recognized that such claims must be brought within one year after the

violation upon which it is based pursuant to Section 13 of the statute, but found all

of Plaintiffs’ Section 12(a)(1) claims, including those arising from purchases within

one year prior to the filing of suit, untimely because it concluded that Binance’s

latest act of solicitation occurred more than one year before filing. That was wrong

for two reasons. First, this Court has squarely held that the one-year limitations

period for a Section 12(a)(1) claim does not begin to run until after a plaintiff’s



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purchase of an unregistered security, because a contrary rule (like that employed by

the district court) would mean that the statute of limitations could begin to run—or

even expire—before the plaintiff could bring a claim. Second, even if the statute of

limitations for Section 12(a)(1) claims based on Binance’s solicitations did start to

run at the time of the last solicitation (which it does not), Plaintiffs’ Section 12(a)(1)

claims arising from purchases within the year before filing would still be timely

because each of those purchases coincided with Binance’s continuous solicitation of

the Tokens through its website’s displaying of price and trading data that solicited,

promoted, and enabled those purchases.

      The district court also failed to address the limitations periods applicable to

Plaintiffs’ state law claims, and instead relied on the federal law limitations periods

in dismissing all of Plaintiffs’ claims as untimely. Even if this Court were to find

Plaintiffs’ claims under federal law untimely (which they are not), Plaintiffs have

pled timely claims under state securities laws that set out lengthier limitations

periods than the analogous federal statutes.

      Finally, the district court dismissed on extraterritoriality grounds Plaintiffs’

state law claims on behalf of absent class members on the grounds that the named

Plaintiffs themselves did not trade from those jurisdictions. But this Court has held

that as long as named plaintiffs have standing to sue the defendants—which

Plaintiffs do here—any concern about whether it is proper for a class to include out-



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of-state, nonparty class members with claims subject to other states’ analogous

statutes is a question of predominance for class certification, not grounds for

dismissal.

      Accordingly, the judgment of the district court should be reversed.

                                    ARGUMENT

I.    Plaintiffs’ Claims Arise From Domestic Securities Transactions That
      Are Subject To Federal And State Securities Laws

      A dismissal based on the extraterritorial applicability of a statute is treated as

a dismissal pursuant to Rule 12(b)(6). See Morrison, 561 U.S. at 254. Accordingly,

the Court reviews de novo the district court’s ruling that Plaintiffs’ claims are

impermissibly extraterritorial, accepting all factual allegations in the SAC as true

and drawing all reasonable inferences in Plaintiffs’ favor. See, e.g., Absolute Activist

Value Master Fund Ltd. v. Ficeto, 677 F.3d 60, 65 (2d Cir. 2012).

      Pursuant to Morrison, the federal securities laws apply to “domestic

transactions in … securities.” 561 U.S. at 267. This Court has explained that

“‘domestic transactions[]’ are those involving securities in which (1) irrevocable

liability is incurred in the United States, or (2) title passes within the United States.”

Giunta v. Dingman, 893 F.3d 73, 79 (2d Cir. 2018) (quoting Absolute Activist, 677




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F.3d at 62).5 A party to a transaction “incur[s] irrevocable liability in the United

States” when it “becom[es] bound to effectuate the transaction” or “enter[s] into a

binding contract to purchase or sell securities” in the United States. In re Vivendi,

S.A. Sec. Litig., 838 F.3d 223, 265 (2d Cir. 2016) (quoting Absolute Activist, 677

F.3d at 67).    “In other words, territoriality under Morrison concerns where,

physically, the purchaser or seller committed him or herself.” United States v. Vilar,

729 F.3d 62, 77 n.11 (2d Cir. 2013). “At the pleading stage, it is sufficient for the

plaintiff to ‘allege facts leading to the plausible inference’ of a domestic

transaction.” Giunta, 893 F.3d at 79 (citing Absolute Activist, 677 F.3d at 68).

      Allegations that a plaintiff placed purchase orders in the United States and

that additional transactional steps binding the plaintiffs to the transaction took place

in the United States suffice to plead a domestic transaction. See Myun-Uk Choi v.

Tower Research Capital LLC, 890 F.3d 60, 66 (2d Cir. 2018). Such additional steps

might include, for example, the “matching” of counterparties to a trade in the United

States (even if the trades are subsequently cleared and settled abroad), id. at 67; the

sending of offering materials and purchase confirmations to plaintiffs who are

located in the United States, see FHFA, 873 F.3d at 156–57; or the transmission of




5
  This Court has applied the same standard in deciding the territorial scope of state
“blue sky” securities laws. See Fed. Hous. Fin. Agency for Fed. Nat’l Mortg. Ass’n
v. Nomura Holding Am., Inc. (“FHFA”), 873 F.3d 85, 156 (2d Cir. 2017).

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payment for the security by a plaintiff who is located in the United States, Giunta,

893 F.3d at 80–81; Vilar, 729 F.3d at 78. By contrast, as this Court held in City of

Pontiac Policemen’s & Firemen’s Retirement System v. UBS AG, where a plaintiff

merely alleges that she placed purchase orders in the United States, but those orders

were processed, matched, and settled on a foreign exchange physically located in

another country, such allegations are insufficient to allege domestic transactions.

752 F.3d 173, 181–82 (2d Cir. 2014).

        The district court primarily relied on City of Pontiac to hold that Plaintiffs did

not allege domestic transactions for purposes of Morrison, and therefore held that

Plaintiffs’ federal and state securities claims “fail due to extraterritoriality.” SPA-

8–10.    But particularly when read alongside other precedent from this Court

addressing the domesticity of securities transactions, City of Pontiac confirms the

opposite of what the district court found: that Plaintiffs did, indeed, adequately allege

domestic transactions subject to federal and state securities laws.

        The key point is that the allegations here go beyond those in City of Pontiac.

The plaintiffs there alleged that because they placed “a buy order in the United States

for the purchase of foreign securities on a foreign exchange,” they “incurred

irrevocable liability in the United States, such that the U.S. securities laws govern

the purchase of those securities.” City of Pontiac, 752 F.3d at 181. Here, by contrast,

Plaintiffs allege much more: in addition to placing purchase orders in the United



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States, other transactional steps occurred in the United States that irrevocably bound

Plaintiffs to purchase the Tokens.

      Specifically, Plaintiffs allege that while located in the United States they

agreed to purchase the Tokens pursuant to contracts with Binance, and they

submitted payment from their states of residence via Binance’s crypto-asset

exchange hosted on U.S. computer infrastructure. See A-168–70 (SAC ¶¶ 15–22);

A-170–71 (SAC ¶ 24). Those purchases then became final and binding when the

trades were validated by computers servicing the Ethereum blockchain that were

physically located in the United States. See A-175 (SAC ¶ 44); A-176 (SAC ¶ 50);

A-178 (SAC ¶¶ 56–59); A-254 (SAC ¶ 328).

      As to the last point, as explained in the SAC, crypto-asset transactions

utilizing blockchain technology, including all ERC-20 token transactions, must be

“validated” by other participants in the blockchain network before they become final

and binding, thus ensuring the accuracy and security of transactions recorded on the

blockchain ledger. E.g., A-175 (SAC ¶ 44); A-176 (SAC ¶ 50); A-178 (SAC ¶ 58).

That validation process occurs across a network of “nodes”—individual computers

that “verify the validity of the transaction,” Alexis M. Tellerd, Comment, Time to

Validate Validators: Determining the Legal Duty of Cryptocurrency Validators




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Under the Bank Secrecy Act, 8 Nat’l Sec. L.J. 297, 304,6 and the largest cluster of

nodes validating transactions on the Ethereum blockchain is in the United States.7

See A-170–71 (SAC ¶ 24); A-175 (SAC ¶ 44); A-176 (SAC ¶ 50); A-178 (SAC ¶¶

56–59); A-254 (SAC ¶ 328).

      Plaintiffs alleged that for the transactions at issue here, validation of Plaintiffs’

Token purchases occurred on U.S.-based nodes servicing the Ethereum blockchain.

Id. That allegation, as well as Plaintiffs’ allegations that while located in the United

States they agreed to purchase the Tokens pursuant to contracts with Binance and

submitted payment from their states of residence via Binance’s crypto-asset

exchange hosted on U.S. computer infrastructure, see A-168–70 (SAC ¶¶ 15–22),

A-170–71 (SAC ¶ 24), distinguish this case from City of Pontiac, in which the shares

at issue could be acquired or traded only by placing orders on a Swiss exchange, such

that the trades were processed, matched, and settled in Switzerland, even when “buy

order[s]” for shares came from the United States. See 752 F.3d at 181.




6
  See also Shahar Somin et al., ERC20 Transactions over Ethereum Blockchain:
Network       Analysis     and    Predictions,    1–2     (Apr.  17,    2020),
https://arxiv.org/abs/2004.08201; Vitalik Buterin, Ethereum: A Next-Generation
Smart Contract and Decentralized Application Platform, 32–33 (2014),
https://ethereum.org/669c9e2e2027310b6b3cdce6e1c52962/Ethereum_Whitepaper
_-_Buterin_2014.pdf.
7
 See Ethereum Mainnet Statistics, ethernodes.org - The Ethereum Network & Node
Explorer (last visited July 25, 2022), https://ethernodes.org/countries.

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      Other decisions of this Court confirm that Plaintiffs alleged domestic

transactions under Morrison. Myun-Uk Choi, for example, recognized that as long

at least one transactional step that binds the plaintiff to the transaction takes place in

the United States, the transaction is domestic under Morrison. See 890 F.3d at 66–

67. The Court held that even though the plaintiffs’ trades were “cleared and settled”

outside the United States, irrevocable liability was incurred in the United States

because the trades were “matched” there, since matching “bind[s] the parties” and

neither party can later “unilaterally revoke” the trade. Id. at 67. Here, Plaintiffs

allege that their Token purchases became final and binding within the United States

because they were validated on U.S.-based nodes servicing the Ethereum

blockchain, and Plaintiffs were not “free to revoke” their “acceptance of [the]

trade[s]” after validation. Id. at 68. Plaintiffs’ allegations therefore “make it

plausible” that they “incur[red] irrevocable liability in the United States,” which is

sufficient to allege domestic transactions at the pleading stage. Id. at 66.

      Several other rulings of this Court confirm that the locations where an investor

enters into relevant contracts and transmits funds for a purchase are critical in

determining whether a transaction is domestic. In Vilar, the Court found dispositive

“evidence demonstrating that [an investor] irrevocably committed herself to [the]

investment while in New York,” noting letters “demonstrat[ing] that [the investor]

was in New York when she received and signed the commitment forms for her



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[investment] and sent the money required for opening her account.” 792 F.3d at 78.

Such facts “‘concerning the formation of the contracts’ and ‘the exchange of

money’” indicated that the plaintiffs had become bound to the transaction in the

United States, and thus the Court concluded that the plaintiffs had adequately alleged

a domestic transaction. Id. Similarly, Plaintiffs here allege that they purchased the

Tokens by entering into contracts with Binance to which they agreed while in their

states of residence. E.g., A-168 (SAC ¶ 15) (Plaintiff Anderson “purchased Tokens

on Binance … pursuant to contracts with and solicitations from Binance, from Texas

during the Class Period”); see also A-168–70 (SAC ¶¶ 15–22).                 That is

indistinguishable from Vilar, and Plaintiffs allege that they became irrevocably

bound to their purchases within the United States. See Vilar, 729 F.3d at 76–77, 98

(investors’ transactions were domestic because the investors were in the United

States when they agreed to purchase a security and sent payment); Giunta, 893 F.3d

at 80–81 (same).

      FHFA reached a similar conclusion. There, the Court found that because the

investors’ traders worked in the investors’ principal places of business, and the

defendants had emailed offering materials to those traders in those locations,

irrevocable liability to purchase securities was incurred there. 873 F.3d at 156–58.

Likewise, Plaintiffs here alleged that they traded securities from the United States,

A-168–70 (SAC ¶¶ 15–22), and that Binance sent email communications to



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investors in the United States to solicit purchases and enable U.S. investors to log

into their accounts to trade Tokens, A-183 (SAC ¶¶ 79–80); A-196 (SAC ¶ 101).

Under FHFA, these allegations are sufficient to show domesticity.

      Applying this Court’s decision in Absolute Activist, the U.S. District Court for

the Northern District of California held that allegations very similar to those here

established the domesticity of crypto-asset transactions. In re Tezos Secs. Litig.,

2018 WL 4293341, at *8 & n.12 (N.D. Cal. Aug. 7, 2018). The court noted the

domestic “realities of the [alleged] transaction,” including that the plaintiff

“participated in the transaction from this country … by using an interactive website

that was: (a) hosted on a server in Arizona and; (b) run primarily by [a defendant] in

California.” Id. at *8. In addition, the court observed, the plaintiff “presumably

learned about the ICO and participated in response to marketing that almost

exclusively targeted United States residents.” Id. Crucially, the court recognized

that the plaintiff’s “contribution of Ethereum to the ICO became irrevocable only

after it was validated by a network of global ‘nodes’ clustered more densely in the

United States than in any other country.” Id. The court found that those factors,

taken together, “support an inference that [plaintiff’s] alleged securities purchase

occurred inside the United States.” Id.

      The same is true here. Plaintiffs were solicited to purchase the Tokens through

marketing targeted at U.S. investors and purchased the Tokens using Binance’s



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crypto-asset exchange hosted on U.S. computer infrastructure.           See A-181

(SAC ¶ 76); A-183 (SAC ¶ 79). Plaintiffs’ trades became irrevocable upon being

validated on U.S.-based nodes servicing the Ethereum blockchain. See A-170–71

(SAC ¶ 24); A-178 (SAC ¶¶ 56–59); A-254 (SAC ¶ 328). These allegations are

more than sufficient to plausibly allege a domestic transaction.

      Any other result would have perverse consequences. If Plaintiffs’ transactions

were beyond the reach of federal and state securities laws, then Binance would

escape any liability for its operation of an unregistered exchange despite making

every effort to target U.S. investors to purchase crypto-assets within the United

States on its exchange. Binance marketed itself to U.S. users via email, allowed

deposits from U.S.-based exchanges, and collected information including driver’s

license and passport information demonstrating that U.S. investors were purchasing

crypto-assets on Binance. A-181–82 (SAC ¶¶ 76–77) A-183 (SAC ¶ 79). Allowing

Binance to evade liability would incentivize all crypto-exchanges to set up shop

outside the United States and flagrantly market unregistered securities to U.S.

investors.

II.   Plaintiffs’ Federal Claims Based On Purchases Within One Year Before
      Filing Suit Are Timely

      A dismissal based on the timeliness of a claim is treated as a dismissal for

failure to state a claim pursuant to Federal Rule of Civil Procedure 12(b)(6).

Accordingly, the Court reviews de novo the district court’s ruling that Plaintiffs’


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claims are untimely, accepting all factual allegations in the SAC as true and drawing

all reasonable inferences in Plaintiffs’ favor. See Staehr v. Hartford Fin. Servs. Grp.,

547 F.3d 406, 424 (2d Cir. 2008).

      A.     Plaintiffs’ Exchange Act Claims Based On Purchases Within One
             Year Before Filing Suit Are Timely

      The district court dismissed as untimely Plaintiffs’ claims under the Exchange

Act, which alleged that Binance formed illegal contracts that are voidable under

Section 29(b) by entering into transactions as an unregistered exchange and an

unregistered broker/dealer. A-264–69 (SAC ¶¶ 370–90).8 The district court held

that “Section 29(b) has a one-year statute of limitations,” as well as a “discovery

rule” pursuant to which “the limitations period[] only begins to run within one year

after the discovery that the sale or purchase involves a violation.” SPA-6 (alterations

and internal quotation marks omitted) (citing 15 U.S.C. § 78cc).9 Plaintiffs asserted




8
 Binance asked the district court to dismiss Plaintiffs’ Exchange Act claims on the
additional ground that Binance is purportedly not a broker or dealer. No. 1:20-cv-
02803-ALC, ECF No. 59 at 17–19; cf. No. 1:20-cv-02803-ALC, ECF No. 64 at 16–
17 (explaining that Plaintiffs adequately allege Binance is a broker/dealer). The
district court did not address this issue in its Order, and it is not ripe for review on
appeal.
9
  Section 29(b) expressly provides a one-year limitations period and a three-year
repose period only for actions based on fraud violations under Section 15(c)(1) and
15(c)(2) of the Exchange Act, which are not at issue in this case. 15 U.S.C.
§ 78cc(b)(B). The question of whether those periods also apply to non-fraud claims
under Section 29(b) was not presented to nor decided by the district court.
Resolution of that question is not necessary to decide this appeal, because even if

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claims arising from purchases both within and outside of the one-year period before

the filing of this action.10

       The district court erroneously dismissed all of Plaintiffs’ Section 29(b)

claims—including those arising from purchases within one year prior to the filing of

suit—as untimely, on the ground that “Plaintiffs knew of the violation, that the

exchange was not registered, earlier than one year prior to filing.” SPA-6. First, the

district court’s factual finding regarding Plaintiffs’ knowledge is erroneous because

it is contradicted by Plaintiffs’ allegations and thus improper on a motion to dismiss.

The district court claimed that “the complaint alleges that Plaintiffs knew that

Binance was unregistered,” but in support cited only a passage of the SAC stating

that “[i]t is well known that VPNs are necessary for U.S. purchasers to access

unregistered crypto-asset exchanges, like Binance.” SPA-6 (quoting SAC ¶ 330). It

simply does not follow from the quoted language that Plaintiffs knew Binance was

an unlawfully unregistered exchange prior to the time of the relevant Token

purchases, a determination that would require an assessment of Binance’s legal



the district court were correct that a one-year limitations period applies (which
Plaintiffs assume for purposes of this appeal), Plaintiffs’ claims are timely.
10
  Plaintiffs’ claims based on purchases outside of one year before the filing of this
action were premised on Plaintiffs’ allegations that the accrual of such claims was
delayed by the equitable doctrines of injury evading discovery and the fraud-based
discovery rule. As noted above, Plaintiffs do not appeal the district court’s
determination that those equitable doctrines did not delay the accrual of Plaintiffs’
claims.

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status. In addition, the relevant facts, even by the district court’s understanding of

the law, would necessarily require a plaintiff to understand that the underlying

Tokens were securities. But the SAC alleged precisely the opposite of what the

district court claimed it did—specifically, the SAC alleged that prior to the guidance

released by the SEC on April 3, 2019, investors would not reasonably have

understood that the Tokens were securities and Plaintiffs therefore did not have

knowledge that they had claims against Binance for the unlawful offer and sale of

the Tokens.    See, e.g., A-256 (SAC ¶ 336).       The district court’s unsupported

conclusion that Plaintiffs did have such knowledge—contrary to the well-pleaded

allegations in the SAC—should therefore be reversed.

      Second, the district court’s holding is inconsistent with the language of the

Exchange Act and decisions interpreting it, which make clear that a “violation”

triggering the beginning of the limitations period cannot occur until a “sale or

purchase” has occurred. See 15 U.S.C. § 78cc(b). The timeliness of a claim under

Section 29(b) is determined by reference to “the discovery that such sale or purchase

involves such violation.” 15 U.S.C. § 78cc(b) (emphasis added). It is impossible to

discover that a sale or purchase “involves [a] violation,” id., when the sale or

purchase has not yet occurred. To hold otherwise would be inconsistent with the

substantive prohibitions of Section 29(b), which renders contracts voidable “that are

either illegal when made or … performed.” Slomiak v. Bear Stearns & Co., 597 F.



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Supp. 676 (S.D.N.Y. 1984) (emphasis added) (quoting Reg’l Props., Inc. v. Fin. &

Real Estate Consulting Co., 678 F.2d 552, 560 (5th Cir. 1982)); accord EMA Fin.,

LLC v. NFusz, Inc., 509 F. Supp. 3d 18, 37 n.22 (S.D.N.Y. 2020). Accordingly, the

one-year limitations period cannot begin to run until, at the very earliest, the time of

the actual purchase. See also Ghartey v. St. John’s Queens Hosp., 869 F.2d 160,

163 (2d Cir. 1989) (reversing dismissal on statute of limitations grounds and

observing that “[t]he general rule in this circuit is that a cause of action accrues when

the plaintiff could first have successfully maintained a suit based on that cause of

action” (internal quotation marks omitted)). Thus, Plaintiffs’ Exchange Act claims

based on purchases made within one year of filing are timely on their face.

      The district court’s approach is in hopeless tension with the plain language of

Section 29(b), 15 U.S.C. § 78cc(b), because it engrafts a knowledge defense where

none exists in the statute. That omission is especially notable given that Congress

knows how to create knowledge-based defenses to liability under the securities laws

when it chooses to do so. See, e.g., 15 U.S.C. § 77k; id. § 77l(a)(2). As the district

court itself noted—despite failing to respect this caution—“[t]he Supreme Court has

warned against … atextual judicial supplementation” when “Congress has shown

that it knows how to adopt the omitted language or provision.” SPA-4 (internal

quotation marks and alterations omitted) (quoting Rotkiske v. Klemm, 140 S. Ct. 355,

361 (2019)).



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      Notably, the manner in which the district court applied Section 29(b)’s

discovery rule would shorten the statute of limitations, rather than lengthen it.

Neither Binance nor the district court cited any authority in support of this novel,

and dubious, proposition. Its application would be particularly unjustifiable here,

where Congress has already cabined the potential for open-ended liability by

establishing a three-year repose period. By ignoring the accrual of Plaintiffs’ claims

(the date of purchase) and holding that the limitations period began to run before

accrual, the district court treated the one-year statute of limitations as if it were a

statute of repose, but statutes of limitations, unlike statutes of repose, begin to run

only after accrual. See, e.g., City of Pontiac Policemen’s & Firemen’s Ret. Sys. v.

MBIA, Inc., 637 F.3d 169, 176 (2d Cir. 2011) (“Unlike a statute of repose, which

begins to run from the defendant’s violation, a statute of limitations cannot begin to

run until the plaintiff's claim has accrued.”).

      In sum, neither the plain language of Section 29(b), nor caselaw concerning

discovery rules more generally, supports a rule that could hold Section 29(b) claims

untimely ab initio if a plaintiff learned of the fact that the exchange was unregistered

before purchasing the security. Thus, even if this Court were to accept the district

court’s conclusion that the Plaintiffs were aware that Binance was an unregistered

exchange prior to their purchases, Plaintiffs’ claims based on purchases made on or

after April 3, 2019 are necessarily timely because this action was filed on April 3,



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2020. Plaintiffs Hardin, Muhammad, Thiagarajan, Token Fund I LLC, and Williams

purchased the EOS and TRX tokens from Binance on or after April 3, 2019. See A-

168 (SAC ¶ 16); A-169–70 (SAC ¶¶ 19–22); A-40–66 (Hardin Certification); A-84–

122 (Muhammad Certification); A-123–25 (Thiagarajan Certification); A-126–31

(Williams Certification); A-132–49 (Token Fund I LLC Certification).             Their

Section 29(b) claims arising from those purchases are therefore timely as a matter of

law, and the district court’s dismissal of those claims as untimely was erroneous and

should be reversed.

      That result would be consistent with cases interpreting analogous limitations

provisions, such as that of the Investment Advisers Act, as well as other securities

laws, such as the Securities Act, which have consistently held that accrual occurs

upon the sale of a security. See, e.g., Kahn v. Kohlberg, Kravis, Roberts & Co., 970

F.2d 1030, 1040 (2d Cir. 1992) (“[T]he wrong occurs,” for purposes of an

Investment Advisers Act action for rescission, “when the plaintiff makes a

completed sales transaction.”); Celsion Corp. v. Stearns Mgmt. Corp., 157 F. Supp.

2d 942, 949 (N.D. Ill. 2001) (“A cause of action under the [Securities] Act accrues

and the statute of limitations begins to run ‘on the date the sale of the instrument is




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complete.’” (quoting McCool v. Strata Oil Co., 972 F.2d 1452, 1460 (7th Cir.

1992))).11

      B.      Plaintiffs’ Securities Act Claims Based On Purchases Within One
              Year Before Filing Suit Are Timely

      A claim under Section 12(a)(1) of the Securities Act must be brought “within

one year after the violation upon which it is based.” 15 U.S.C. § 77m. Plaintiffs

alleged that Binance violated Section 12(a)(1) by promoting, soliciting, and selling

unregistered securities to Plaintiffs and members of the proposed Class. See A-262–

63 (SAC ¶¶ 363–69).

      As with Plaintiffs’ Exchange Act claims, the district court ruled that all of

Plaintiffs’ Section 12(a)(1) claims—including those arising from purchases within

one year prior to the filing of suit—were untimely because “the violation alleged for

the Section 12(a)(1) claim is solicitation,” and the “latest act of solicitation” by

Binance “occurred earlier than one year [before] filing.” SPA-5.12 This was



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   See also CTS Corp. v. Waldburger, 573 U.S. 1, 7 (2014) (“In the ordinary course,
a statute of limitations creates a time limit for suing in a civil case, based on the date
when the claim accrued.”) (internal quotation marks omitted); cf. City of Pontiac,
637 F.3d at 176 (because a “statute of limitations cannot begin to run until a claim
has accrued, and a securities fraud claim does not accrue until the plaintiff has bought
or sold the relevant security, then the statute of limitations cannot begin to run until
after the plaintiff’s transaction”).
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   The district court additionally ruled that the SAC insufficiently alleged that
Binance violated Section 12(a)(1) by passing title of unregistered Tokens to
Plaintiffs. SPA-5 n.2. Although Plaintiffs disagree with the district court’s
conclusion, in the event that this Court reverses the district court’s dismissal of the

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erroneous for two reasons. First, this Court has expressly held that the statute of

limitations for Section 12(a)(1) claims runs from a plaintiff’s purchase, not the

defendant’s last solicitation, and therefore Plaintiffs’ claims arising from purchases

in the one year before filing are timely as a matter of law. Second, even if the statute

of limitations began to run upon Binance’s last solicitation, Plaintiffs alleged that

Binance continuously solicited purchases of the Tokens during the one year before

filing, and Plaintiffs Hardin, Muhammad, Thiagarajan, Token Fund I LLC, and

Williams’s claims arising from purchases of the EOS and TRX tokens during that

year are therefore timely.

             1.     The Limitations Period For Section 12(a)(1) Claims Runs
                    From The Time Of Purchase

      This Court has squarely held that the limitations period for a Section 12(a)(1)

claim does not begin to run until the plaintiff’s purchase of the unregistered security.

In Diskin v. Lomasney & Co., this Court held that where a Section 12(a)(1) claim is

predicated on the defendant’s offer of unregistered securities, the limitations period

begins to run only upon the plaintiff’s purchase of the unregistered security. 452




SAC for the reasons set forth herein and remands for further proceedings, Plaintiffs
intend to seek the district court’s leave to amend the SAC to further expand upon
their allegations under Section 12(a)(1) regarding Binance’s passing of title of
unregistered tokens to Plaintiffs—in particular, that the structure of a centralized
crypto-asset exchange such as Binance renders it in privity with its customers for
each sale or purchase, and that title for securities transacted on Binance passes
between Binance and the customer.

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F.2d 871, 875–76 (2d Cir. 1971) (Friendly, J.). That is because “it would be

unreasonable to read [the statute of limitations] as starting the short period for an

action [under Section 12(a)(1)] at a date before the action could have been brought—

a construction which might lead in some extreme cases to running the statute of

limitations before the claim had ever arisen.” Id. Other cases from this Court are in

accord. See Wigand v. Flo-Tek, Inc., 609 F.2d 1028, 1033 n.5 (2d Cir. 1979) (in

Section 12(a)(2) action, citing Diskin for the proposition that “the limitations period

here begins to run only after the sale, because it would be unreasonable to have the

limitations period begin to run before the claim accrued, [i.e.], before the sale

occurred”); see also City of Pontiac, 637 F.3d at 175 (in Section 10(b) action,

observing that “[s]ince the purpose [of a statute of limitations] is to prevent stale

claims, it would make no sense for a statute of limitations to begin to run before the

plaintiff even has a claim”).

      Diskin is fully consistent with the Supreme Court’s decision in Pinter v. Dahl,

which holds that where Section 12(a)(1) liability is based on a defendant’s

solicitation of unregistered securities, “a prospective buyer has no recourse against

a person who touts unregistered securities to him if he does not purchase the

securities.” 486 U.S. 622, 644 (1988). Because Pinter requires a successful

solicitation in order for a plaintiff to bring a Section 12(a)(1) claim, the “violation”

from which the limitations period begins to run can occur only upon the plaintiff’s



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purchase of the unregistered security. Otherwise, the one-year limitations period

could expire before a plaintiff could plead a violation of Section 12(a)(1), which is

precisely the result this Court previously rejected in Diskin. 452 F.2d at 875–76.

      Plaintiffs Hardin, Muhammad, Thiagarajan, Token Fund I LLC, and Williams

purchased the EOS and TRX tokens from Binance within one year prior to the filing

of this action. See A-168 (SAC ¶ 16); A-169–70 (SAC ¶¶ 19–22); A-40–66 (Hardin

Certification); A-84–122 (Muhammad Certification); A-123–25 (Thiagarajan

Certification); A-126–31 (Williams Certification); A-132–49 (Token Fund I LLC

Certification). Because the limitations period for Plaintiffs’ Section 12(a)(1) claims

arising from those purchases runs from the time of purchase (Diskin, 452 F.2d at

875–76), those claims are timely as a matter of law, and the district court’s dismissal

of those claims as untimely was erroneous.

             2.     Plaintiffs’ Token Purchases And Binance’s Solicitations
                    Occurred Within One Year Before Filing

      Even if the statute of limitations for Section 12(a)(1) claims based on

Binance’s solicitations began to run at the time of the last solicitation (which, under

Diskin, it does not), Plaintiffs’ Section 12(a)(1) claims arising from their purchases

within the year before filing would still be timely.

      The district court found that “Defendants’ latest act of solicitation with respect

to these two tokens is Binance’s republication of investor reports in November 2018

and February 2019, more than a year before Plaintiffs initiated this Action.” SPA-


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5. But the district court’s description ignores Plaintiffs’ allegation that “Binance’s

website served as a continuous form of solicitation, throughout the Class Period, that

both promoted and enabled sales of the Tokens” by “displaying detailed price and

trading data of the Tokens” that induced Plaintiffs to trade. A-193–94 (SAC ¶ 99).

The district court’s determination that Defendants did not solicit sales within a year

prior to suit thus contradicts the allegations in the SAC, namely, that Binance heavily

promoted the Tokens throughout the Class Period, including immediately prior to

each purchase and sale. A-186 (SAC ¶¶ 87–89); A-187–93 (SAC ¶¶ 92–98).

      As discussed above, Plaintiffs Hardin, Muhammad, Thiagarajan, Token Fund

I LLC, and Williams each purchased the EOS and TRX tokens from Binance within

one year prior to the filing of this action. A-40–66 (Hardin Certification); A-84–122

(Muhammad Certification); A-123–25 (Thiagarajan Certification); A-126–31

(Williams Certification); A-132–49 (Token Fund I LLC Certification). Each of

those purchases was made through Binance’s website, see A-168 (SAC ¶ 16); A-

169–70 (SAC ¶¶ 19–22), and therefore each of those purchases coincided with

Binance’s continuous solicitation of the Tokens through its website’s displaying of

price and trading data that solicited, promoted, and enabled those purchases, A-193–

94 (SAC ¶ 99). Thus, even if the limitations period for Plaintiffs’ Section 12(a)(1)

claims were appropriately measured from Binance’s last solicitation (which it is not),

Plaintiffs’ claims arising from those purchases are timely because Binance’s



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solicitations of Plaintiffs’ purchases of the Tokens likewise occurred within the year

prior to filing suit.

III.   Plaintiffs’ State Securities Laws Claims Are Timely

       The district court failed to address the limitations periods applicable to

Plaintiffs’ state law claims. Instead, it simply looked to the limitations periods

applicable to Plaintiffs’ federal law claims, and concluded that claims arising from

“seven of the nine tokens at issue—QSP, KNC, FUN, ICX, OMG, LEND, and ELF”

were untimely because those Tokens “were last purchased in 2018, more than a year

before this action was brought,” and “claims related to EOS and TRX are also

untimely” for reasons discussed in Section II above. SPA-4–5. But even if this

Court determines that Plaintiffs’ claims under federal law are untimely—which they

are not, for the reasons discussed above—Plaintiffs have pled timely claims under

state securities laws.

       Plaintiffs Anderson, Muhammad, and Williams bring claims arising from

their purchases of the EOS, TRX, ELF, FUN, ICX, OMG, and QSP tokens under the

Texas blue sky statute, which imposes what is effectively a three-year repose period

after the sale of an unregistered security, with no statute of limitations, no notice

provision, and no knowledge defense. Texas Civ. St. Art. 581-33H(1); see also

Rotstain v. Trustmark Nat’l Bank, 2016 WL 8216509, at *3 n.3 (N.D. Tex. July 27,

2016) (“Courts have consistently characterized article 581-33H of the TSA as a



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statute of repose, not a statute of limitations.”). Because all of the Tokens Plaintiffs

purchased were first issued after April 3, 2017 (i.e., within three years before

Plaintiffs commenced the action), A-213 (SAC ¶ 150); A-224 (SAC ¶ 195); A-228

(SAC ¶ 211); A-231 (SAC ¶ 226); A-234 (SAC ¶ 240); A-238 (SAC ¶ 255); A-241

(SAC ¶ 269); A-244 (SAC ¶ 283); A-247 (SAC ¶ 297), all of Plaintiffs Anderson,

Muhammad, and Williams’s claims under Texas’s securities laws arising from their

purchases of the EOS, TRX, ELF, FUN, ICX, OMG, and QSP tokens are necessarily

timely. A15–39 (Anderson Certification); A-84–122 (Muhammad Certification); A-

126–131 (Williams Certification).

      Similarly, Plaintiff Token Fund I LLC brings claims arising from its purchases

of the EOS token under Puerto Rico’s blue sky laws, which are subject to a

limitations period that runs for two years after the sale of an unregistered security.

10 L.P.R.A. § 890(e); see also Fernandez v. UBS AG, 222 F. Supp. 3d 358, 385

(S.D.N.Y. 2016) (noting that the limitations period stated in § 890(e) begins to run

when “the sale contract has been executed”). Accordingly, Plaintiff Token Fund I

LLC’s claims under the Puerto Rico blue sky law based on purchases of the EOS

token on or after April 3, 2018 are timely.         A-132–49 (Token Fund I LLC

Certification).

      Plaintiff Hardin brings Nevada blue sky claims arising from his purchases of

the TRX token. The Nevada statute sets the relevant timeliness period as “the



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earliest of 2 years after the discovery of the violation” or “2 years after discovery

should have been made by the exercise of reasonable care.” Nev. Stat. § 90.670.

“Th[at] limitations period accrues when the plaintiff discovered or should have

learned of facts constituting all of the elements of the claim.” NNN Siena Off. Park

I 2, LLC v. Wachovia Bank Nat. Ass’n, 2014 WL 4417858, at *6 (D. Nev. Sept. 8,

2014) (emphasis added) (citing Siragusa v. Brown, 114 Nev. 1384 (1998)), aff’d 673

F. App’x 725 (9th Cir. 2016). Nevada’s blue sky statute creates civil liability for

“[a] person who offers or sells a security in violation of” those statutes to “the person

purchasing the security.” Nev. Stat. § 90.660(1) (emphasis added). Thus, a plaintiff

bringing claims based on the sale of securities could not have discovered the facts

“constituting all of the elements of th[at] claim,” NNN Siena, 2014 WL 4417858, at

*6, until, at the very earliest, the relevant sale took place. To hold otherwise would

be “at odds with the statutory language,” therefore “[t]he limitations period … runs

from each violation, i.e., each sale, and not from the plaintiff’s discovery that the

security was unregistered as a general matter.” Baroi v. Platinum Condo. Dev., LLC,

2012 WL 4606720, at *8 (D. Nev. Oct. 1, 2012).

      The district court addressed none of this. Because the limitations periods

under the Nevada blue sky law did not begin to run until, at the earliest, the times of

the relevant sales, Plaintiff Hardin’s claims under Nevada law arising from his




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purchases of the TRX token on or after April 3, 2018 are timely under the Nevada’s

securities laws. A-40–66 (Hardin Certification).

IV.    The District Court Improperly Dismissed State Claims On Behalf Of
       Absent Class Members

       The district court dismissed on extraterritoriality grounds Plaintiffs’ claims in

the SAC that were asserted on behalf of absent class members under blue sky laws

of jurisdictions in which putative class members, but not the named Plaintiffs,

purchased Tokens, ruling that “there is an insufficient nexus between the

allegations” concerning named Plaintiffs’ purchases “and those jurisdictions.” SPA-

9. That was improper under this Court’s precedent and even under the authority

cited by the district court.

       As Plaintiffs explained to the district court (No. 1:20-cv-02803-ALC, ECF

No. 64 at 32–33), this Court has held that “as long as the named plaintiffs have

standing to sue the named defendants, any concern about whether it is proper for a

class to include out-of-state, nonparty class members with claims subject to different

state laws is a question of predominance” under Rule 23, not a motion to dismiss.

Langan v. Johnson & Johnson Consumer Cos., 897 F.3d 88, 93 (2d Cir. 2018);

accord In re Asacol Antitrust Litig., 907 F.3d 42, 47–51 (1st Cir. 2018) (reaching

the same conclusion under state antitrust laws). Because it is undisputed that

Plaintiffs have standing under Article III to sue Defendants based on Plaintiffs’ own




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purchases of Tokens from Binance, it was improper for the district court to dismiss

the blue sky claims on behalf of absent class members. Langan, 897 F.3d at 93.

      While the district court referenced In re Bibox Group Holdings Ltd. Securities

Litigation, 534 F. Supp. 3d 326, 334 (S.D.N.Y. 2021), reconsideration denied in

part sub nom. In Re Bibox Grp. Holdings Ltd. Sec. Litig., 2021 WL 2188177

(S.D.N.Y. May 28, 2021), in dismissing the absent class members’ state law claims,

Bibox does not support the district court’s ruling on these claims. Quite the opposite:

consistent with this Court’s precedent, Bibox explained that district courts generally

“do not address the standing and merits arguments with respect to the additional state

law claims unless and until the motion to dismiss is denied and a motion for class

certification is granted pursuant to Rule 23.” Id. (emphasis added).

                                  CONCLUSION

      For the foregoing reasons, Plaintiffs have asserted timely claims under the

Securities Act and the Exchange Act, and under the blue sky laws of Nevada, Puerto

Rico, and Texas, arising from their domestic purchases of the EOS, TRX, ELF,

FUN, ICX, OMG, and QSP tokens. Plaintiffs therefore respectfully request that the

Court reverse the judgment of the district court granting Binance’s Motion to

Dismiss, and remand for further proceedings.




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Dated: July 28, 2022                       Respectfully submitted,



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                  CERTIFICATE OF COMPLIANCE

      Pursuant to Rule 32(a)(5) of the Federal Rules of Appellate

Procedure, the foregoing brief is in 14-Point Times New Roman

proportional font and contains 10,186 words and thus is in compliance with

the type-volume limitation set forth in Rule 32(a)(7)(B) of the Federal Rules

of Appellate Procedure.


Dated: July 28, 2022
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